     Case 3:20-cv-01605-BEN-WVG Document 2 Filed 08/18/20 PageID.20 Page 1 of 1



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 6

 7

 8                      UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10                                  SAN DIEGO DIVISION
11

12 STRIKE 3 HOLDINGS, LLC,                           Case Number: '20CV1605 BEN WVG
13                     Plaintiff,                    NOTICE OF PARTY WITH
                                                     FINANCIAL INTEREST
14 vs.

15 JOHN DOE infringer identified as using
     IP address 70.95.2.212,
16
                       Defendant.
17

18

19         PLEASE TAKE NOTICE, pursuant to CIVLR 40.2 and Fed. R. Civ. P. 7.1,
20 Plaintiff’s parent corporation is General Media Systems, LLC. There are no

21 publicly traded corporations that currently own 10% or more of Plaintiff’s stock.

22         DATED this 18th day of August, 2020.
23                                            Law Offices of Lincoln Bandlow, PC
24                                            s/ Lincoln D. Bandlow
                                              Lincoln D. Bandlow
25                                            Attorneys for Plaintiff
                                              Strike 3 Holdings, LLC
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                               Notice of Party With Financial Interest
